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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,


        v.                                                  23-CR-99-LJV-JJM
                                                            DECISION & ORDER
 JOHN THOMAS ERMIN,

               Defendant.



       The defendant, John Thomas Ermin, appeals from an order of United States

Magistrate Judge Jeremiah J. McCarthy denying Ermin’s motion for a renewed

detention hearing and release from custody. Docket Item 240 (appealing Docket Item

229). For the reasons that follow, this Court affirms Judge McCarthy’s decision to deny

Ermin’s motion without prejudice.

       On January 3, 2024, after a lengthy detention hearing, United States Chief

District Judge Elizabeth A. Wolford ordered that Ermin be detained. Docket Item 3. 1

Chief Judge Wolford first found that “the government ha[d] established by clear and

convincing evidence that [Ermin]’s release would pose a risk of danger that could not be

adequately protected by reasonable conditions.” Id. at 32. “Separate and apart from

the risks of danger posed by [Ermin]’s release,” Chief Judge Wolford found, “there [wa]s

the flight risk that, in and of itself, would justify [his] detention.” Id. The Second Circuit

affirmed on both grounds. United States v. Ermin, 2024 WL 1652240, at *1 (2d Cir.


       1 Ermin initially was ordered released by United States Magistrate Judge H.

Kenneth Schroeder, see Docket Item 2; however, Chief Judge Wolford set that order
aside after the government appealed.
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Feb. 21, 2024) (“The district court did not err by determining that Ermin poses a serious

risk to the community and that no conditions could reasonably protect against that risk.

Nor did the district court err by determining that Ermin poses a serious risk of flight and

that no condition or combination of conditions could be imposed on him that would

reasonably assure his appearance as required—an independent basis to affirm—based

in part on his and his wife’s dishonest answers about his past international travel.”).

       Approximately seven months after the Second Circuit’s decision, Ermin moved to

reopen his detention hearing. Docket Item 213. He noted that “[a]s a result of the

[g]overnment’s failure to timely provide discovery, and further delay of the requested

protective order, [Judge McCarthy had] found that the [g]overnment acted in bad faith

and was willfully negligent.” Docket Item 213-1 at ¶ 4(B). And, Ermin said, he had “lost

90 days or more as a result of the [g]overnment’s actions,” which “constitute[d] a

substantial change in circumstances.” Id. at ¶ 5.

       Judge McCarthy denied the motion without prejudice, noting that he had

“reviewed [Chief Judge Wolford’s] January 3, 2024, decision extensively . . . , and at this

point, [he saw] no reason to revisit that.” Docket Item 309 at 26. Judge McCarthy found

“that what ha[d] occurred and what led to . . . [his] sanctions order would be a change of

circumstances [that] would enable [him] to at least consider an application for release.”

Id. at 26-27. “[B]ut having considered what’s been argue[d] and what [Chief] Judge

Wolford ruled,” Judge McCarthy said, he did not “find that there[ was] a basis at this

point to order . . . Ermin’s release.” Id. at 27.

       In his appeal to this Court, Ermin argues that—in addition to his argument about

delay based on the government’s conduct—“[a] review of the discovery (or lack thereof)



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shows something completely different [than what the government proffered to Chief

Judge Wolford] and does not support the conclusion that [Ermin] is a danger to the

community.” Docket Item 304 at 6. Ermin also contends that “[i]t is extreme to believe

that his ability to flee would not be hampered by his physical condition,” and he also has

“offered to pledge his house as security, which has significant equity.” Id. at 7.

       This Court agrees with Judge McCarthy that there is no basis to revisit Chief

Judge Wolford’s decision at this juncture. More specifically, this Court finds that—even

assuming for the sake of argument that the discovery undermines a finding of

dangerousness, as Ermin suggests—he has not identified any new information that

would warrant revisiting Chief Judge Wolford’s finding that he is a flight risk. 2 And as

noted above, that finding was cited by the Second Circuit as an independent reason for

affirming Chief Judge Wolford. See Ermin, 2024 WL 1652240, at *1.

       Indeed, Chief Judge Wolford explicitly considered Ermin’s physical condition but

ultimately found that it did not mitigate his risk of flight. See Docket Item 3 at 32 (“The

Court recognizes that [Ermin] has lengthy and deep ties to the area, no prior criminal

convictions, and physical impediments that on their surface appear to hinder his ability

to easily flee the Court’s jurisdiction.”). The Second Circuit presumably considered that

factor as well in affirming Chief Judge Wolford.



       2 With respect to Ermin’s argument about Judge McCarthy’s bad faith finding, this

Court has since vacated that decision. Docket Item 310. And in any event, pretrial
delay does not constitute a changed circumstance under the Bail Reform Act. See
United States v. Orena, 986 F.2d 628, 630 (2d Cir. 1993) (“[T]here is no statutory basis
for the conclusion that the length of a pretrial detention warrants the granting of bail
where there has been a finding of danger to the community. To the contrary, Congress
rejected any specific time limit under the Bail Reform Act for detention pending trial,
relying instead upon the Speedy Trial Act.”).

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       Nor does this Court think that Ermin’s “offer[] to pledge his house as security,”

see Docket Item 304 at 7, would have swayed Chief Judge Wolford. Chief Judge

Wolford found that Ermin was a risk of flight based on, among other things, the fact that

he “and his wife both seemingly lied to the [United States Probation Office] when asked

about his history of international travel.” Docket Item 3 at 32. Moreover, Chief Judge

Wolford found that

       [w]ith a network as wide and vast as the Outlaws [Motorcycle Club] that
       includes convicted felons and a deep reach within the Bureau of Prisons
       and around the world—reflected by the financial donations received by
       [Ermin] while hospitalized in 2020 with COVID—it is apparent that [he]
       would have resources available to assist with any flight that could not be
       adequately addressed through reasonable conditions.

Id. at 32-33. This Court does not see how Ermin’s offer to pledge his house as security

would alter these findings.


                                     CONCLUSION


       For all those reasons, Ermin’s appeal of Judge McCarthy’s order denying without

prejudice Ermin’s motion for release is AFFIRMED.



       SO ORDERED.

       Dated: December 13, 2024
              Buffalo, New York



                                              /s/ Lawrence J. Vilardo
                                             LAWRENCE J. VILARDO
                                             UNITED STATES DISTRICT JUDGE




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